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                    IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                           FAYETTEVILLE DIVISION


FAYETTEVILLE PUBLIC LIBRARY, a political
subdivision in the City of Fayetteville, State of
Arkansas; EUREKA SPRINGS CARNEGIE PUBLIC
LIBRARY; CENTRAL ARKANSAS LIBRARY
SYSTEM; NATE COULTER; OLIVIA FARRELL;
JENNIE KIRBY, as parent and next friend of HAYDEN
KIRBY; LETA CAPLINGER; ADAM WEBB;
ARKANSAS LIBRARY ASSOCIATION;
ADVOCATES FOR ALL ARKANSAS LIBRARIES;
PEARL’S BOOKS, LLC; WORDSWORTH
COMMUNITY BOOKSTORE LLC d/b/a
WORDSWORTH BOOKS; AMERICAN
BOOKSELLERS ASSOCIATION; ASSOCIATION OF
AMERICAN PUBLISHERS, INC.; AUTHORS
GUILD, INC.; COMIC BOOK LEGAL DEFENSE
FUND; FREEDOM TO READ FOUNDATION                                       PLAINTIFFS


v.                            NO. 4:23-CV-05086-TLB

CRAWFORD COUNTY, ARKANSAS; CHRIS
KEITH, in his official capacity as Crawford County
Judge; TODD MURRAY; SONIA FONTICIELLA;
DEVON HOLDER; MATT DURRETT; JEFF
PHILLIPS; WILL JONES; TERESA HOWELL; BEN
HALE, CONNIE MITCHELL, DAN TURNER, JANA
BRADFORD; FRANK SPAIN; TIM BLAIR; KYLE
HUNTER; DANIEL SHUE; JEFF ROGERS; DAVID
ETHREDGE; TOM TATUM, II; DREW SMITH;
REBECCA REED MCCOY; MICHELLE C.
LAWRENCE; DEBRA BUSCHMAN; TONY
ROGERS; NATHAN SMITH; CAROL CREWS;
KEVIN HOLMES; CHRIS WALTON; and CHUCK
GRAHAM, each in his or her official capacity as a
prosecuting attorney for the State of Arkansas;                      DEFENDANTS
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                                            COMPLAINT

        Plaintiffs, Fayetteville Public Library, a political subdivision in the City of Fayetteville,

State of Arkansas; Eureka Springs Carnegie Public Library; Central Arkansas Library System;

Nate Coulter; Olivia Farrell; Jennie Kirby, as parent and next friend of Hayden Kirby; Leta

Caplinger; Adam Webb; Arkansas Library Association; Advocates for All Arkansas Libraries;

Pearl’s Books, LLC; Wordsworth Community Bookstore, LLC d/b/a WordsWorth Books;

American Booksellers Association; Association of American Publishers, Inc.; Authors Guild, Inc.;

Comic Book Legal Defense Fund; and Freedom to Read Foundation, Inc., by their undersigned

attorneys, 1 and for their Complaint against Defendants Crawford County, Arkansas; Chris Keith,

in his capacity as the Crawford County Judge; Todd Murray; Sonia Fonticiella; Devon Holder;

Matt Durrett; Jeff Phillips; Will Jones; Teresa Howell; Ben Hale; Connie Mitchell; Dan Turner;

Jana Bradford; Frank Spain; Tim Blair; Kyle Hunter; Daniel Shue; Jeff Rogers; David Ethredge;

Tom Tatum, II; Drew Smith; Rebecca Reed McCoy; Michelle C. Lawrence; Debra Buschman;

Tony Rogers; Nathan Smith; Carol Crews; Kevin Holmes; Chris Walton; and Chuck Graham, each

in his or her official capacity as a prosecuting attorney for the State of Arkansas, state:

                                          INTRODUCTION

            1.   This action concerns whether Arkansas may enforce parts of the recently enacted

 Act 372 of 2023 (“Act 372”), a vague, sweeping law that restrains public libraries and booksellers

 in Arkansas from making available constitutionally protected books and other media to their

 patrons and customers. Specifically, Plaintiffs seek to preliminarily and permanently enjoin


        1
          Plaintiffs Fayetteville Public Library, Eureka Springs Carnegie Public Library, Central Arkansas
Library System, Nate Coulter, Olivia Farrell, Hayden Kirby, Leta Caplinger, Adam Webb, Arkansas
Library Association, Advocates for All Arkansas Libraries, and Freedom to Read Foundation are referred
to herein, collectively, as the “Library Plaintiffs.” Pearl’s Books, LLC, Wordsworth Community Bookstore,
LLC, American Booksellers Association, Association of American Publishers, Inc., the Authors Guild, Inc.
and Comic Book Legal Defense Fund are referred to herein, collectively, as the “Bookseller Plaintiffs.”

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enforcement of, and declare facially unconstitutional and void, Sections 1 and 5 of Act 372 as

violations of their rights under the First and Fourteenth Amendments to the U.S. Constitution.2

          2.    Section 1 of Act 372 makes it a criminal offense, punishable by imprisonment for

up to a year, to make available, provide, or show to a minor an item that meets the definition of

“harmful to minors” (the “Availability Provision”). This will necessarily force libraries and

bookstores to confine to a secure “adults only” area—and so to segregate from their general

patrons and customers—any item that might be deemed harmful to the youngest minor, even if

there is no constitutional basis for limiting its availability to older minors or adults. Where

libraries and booksellers lack the space or resources to construct “adults only” areas, their only

choice will be to remove all materials which might be deemed harmful to their youngest, least

developed patrons or customers.

          3.    By so broadly regulating the display of protected materials that are constitutionally

protected as to older minors and adults, the Availability Provision violates the First and

Fourteenth Amendments because it imposes a content-based restriction on speech that (a) is not

narrowly tailored, (b) is overly broad, and (c) is vaguely worded.

          4.    Arkansas knows that it cannot directly prohibit libraries and booksellers from

making books and other items available to their patrons and customers on such a sweeping basis,

as its prior attempt to limit the availability of material deemed harmful to minors (in a nearly

identical law) was struck down by an Arkansas federal court as “facially unconstitutional under

the First and Fourteenth Amendments to the United States Constitution because such provisions

are overbroad and impose unconstitutional prior restraints on the availability and display of




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          A copy of Act 372 is attached as Exhibit 1 to this Complaint.

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constitutionally protected, non-obscene materials to both adults and older minors.” Shipley, Inc.

v. Long, 454 F. Supp. 2d 819, 831 (E.D. Ark. 2004).

       5.     What Arkansas cannot permissibly do directly through the Availability Provision,

it likewise cannot not do indirectly through Section 5 of Act 372, which requires that public

libraries establish a process through which any “person affected by [a] material” in their collection

can challenge the “appropriateness” of that material’s inclusion in the library’s main collection

(the “Challenge Procedure”). Like the Availability Provision, the Challenge Procedure will force

public libraries to segregate into a secure, “adults only” area a substantial amount of material that

is protected as to adults and older minors but which someone may allege is inappropriate for the

public library’s youngest, least mature reader. For smaller libraries that lack the space and staff

to create this secure, “adults only” area, their only choice—compelled by Act 372—will be to

remove entirely all materials that might be inappropriate for the youngest, least developed child

readers.

       6.     The Challenge Procedure thus violates the First and Fourteenth Amendment in that

it (a) imposes an unconstitutional prior restraint on constitutionally protected material; (b) is

unconstitutionally vague; and (c) lacks any judicial review of a decision to remove materials from

a library’s main collection.

       7.     The constitutional harms created by the Challenge Procedure have already

become evident. Specifically, Crawford County has acted to segregate constitutionally protected

materials in the Crawford County Library, and its attorney defended the decision to segregate

those materials with reference to its impending obligation under Act 372 to create an area

inaccessible to minors.




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        8.     Governor Sanders signed Act 372 on March 31, 2023, and it is scheduled to go into

effect on August 1, 2023. Plaintiffs bring this action to safeguard their fundamental rights and the

rights of their members under the First and Fourteenth Amendments to the U.S. Constitution to

disseminate, receive, and peruse constitutionally protected books, magazines, and other printed

or audiovisual media. Act 372 forces bookstores and libraries to self-censor in a way that is

antithetical to their core purposes. As further explained below, the Court should strike down the

parts of the Act that violate the First and Fourteenth Amendments.

                                 JURISDICTION AND VENUE

       9.      The Court has subject matter jurisdiction over this action (a) under 28 U.S.C.

§ 1331 because this action arises under federal law and (b) under 28 U.S.C. §§ 1343(a)(3) and

(a)(4) because Plaintiffs seek to vindicate their federal civil rights under the First and Fourteenth

Amendments to the United States Constitution under 42 U.S.C. § 1983.

        10.    Plaintiffs seek remedies in this action under 28 U.S.C. §§ 2201 and 2202, 42 U.S.C.

§§ 1983 and 1988, and Fed. R. Civ. P. 65.

        11.    Venue is proper in this district under 28 U.S.C. § 1391(b) because multiple

Defendants reside in this district and all Defendants are residents of the State in which this district

is located.

                                             PARTIES

        12.    The Fayetteville Public Library (“FPL”) is a municipal public library and political

subdivision in the City of Fayetteville, formed pursuant to Arkansas law to provide library

services to local residents. Some of the materials in FPL’s collection, though constitutionally

protected, could be deemed harmful to minors and therefore subject to the Availability Provision,

or inappropriate for minors and therefore subject to the Challenge Procedure. To comply with the


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Availability Provision and Challenge Procedure, FPL will have to change the physical layout of

its libraries in ways that will materially alter the intentionally welcome and open atmosphere the

library strives to create. If FPL declines to make these burdensome changes, or even if it does but

fails to segregate a single title in its large collection, it puts itself at risk of violating the

Availability Provision and being charged with a crime. FPL’s First Amendment rights, and the

rights of its patrons, will be adversely affected unless Sections 1 and 5 of Act 372 are enjoined.

FPL sues on its own behalf, and on behalf of its library patrons and readers of library materials.

        13.    Eureka Springs Carnegie Public Library (“ESCPL”) is a municipal public library

formed pursuant to Arkansas law to provide library services to local residents. Some of the

materials in the ESCPL’s collection, though constitutionally protected, could be deemed harmful

to minors and therefore subject to the Availability Provision, or inappropriate for minors and

therefore subject to the Challenge Procedure. To comply with the Availability Provision and

Challenge Procedure, ESCPL will have to change the physical layout of its libraries in ways that

will materially alter the intentionally welcome and open atmosphere the library strives to create.

If ESCPL declines to make these burdensome changes, or even if it does but fails to segregate a

single title in its large collection, it puts itself at risk of violating the Availability Provision and

being charged with a crime. ESCPL’s First Amendment rights, and the rights of its patrons, will

be adversely affected unless provisions of Act 372 are enjoined. ESCPL sues on its own behalf,

and on behalf of its library patrons and readers of library materials.

        14.    Central Arkansas Library System (“CALS”) is a body corporate and politic formed

under Arkansas law under an interlocal agreement among the City of Little Rock, Pulaski County,

Perry County, the City of Jacksonville, the City of Sherwood, and the City of Maumelle to provide

library services to local residents. Some of the hundreds of thousands of materials in the CALS



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collection, though constitutionally protected, could be deemed harmful to minors and therefore

subject to the Availability Provision, or inappropriate for minors and therefore subject to the

Challenge Procedure. To comply with the Availability Provision and Challenge Procedure, CALS

will have to change the physical layout of its libraries in ways that will materially alter the

intentionally welcome and open atmosphere the library strives to create. If CALS declines to

make these burdensome changes, or even if it does but fails to segregate a single title in its large

collection, it puts itself at risk of violating the Availability Provision and being charged with a

crime. CALS’s First Amendment rights, and the rights of its patrons, will be adversely affected

unless Sections 1 and 5 of Act 372 are enjoined. CALS sues on its own behalf, and on behalf of

its library patrons and readers of library materials.

       15.    Nate Coulter is a resident of Little Rock and the Director of CALS. He is suing on

his own behalf and on behalf of CALS’s Board. Mr. Coulter faces the prospect of criminal liability

if he engages in conduct that is constitutionally protected by the First Amendment but

nevertheless violates Act 372.

       16.    Olivia Farrell is an adult resident of Little Rock and a CALS patron and

WordsWorth Books customer. Olivia will be injured if the Availability Provision or the Challenge

Procedure goes into effect because she will be deprived of access to books that she would like to

peruse, read, check out, or buy, and which would otherwise be available.

       17.    Jennie Kirby is the parent and next friend of Hayden Kirby. Hayden Kirby is a

seventeen-year-old resident of Little Rock and a CALS patron. Her constitutional rights will be

adversely affected unless Act 372 is enjoined. Hayden will be injured if the Availability Provision

or Challenge Procedure goes into effect because she will be deprived of access to books that she

would like to peruse, read, check out, or buy, and which would otherwise be available.



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       18.    Leta Caplinger is an adult resident of Crawford County and a patron of the

Crawford County Library System. Leta will be injured if the Availability Provision or the

Challenge Procedure goes into effect because she will be deprived of access to books that she

would like to peruse, read, check out, or buy, and which would otherwise be available.

       19.    Adam Webb is an American Library Association-accredited Librarian and Certified

Public Library Administrator. He lives in Garland County and has worked at the Garland County

Library (“GCL”) for more than sixteen years, including, since 2019, as GCL’s Executive Director.

In his capacity as the Executive Director of GCL, Mr. Webb plans and directs the provision of

library services, which means that he is primarily responsible for ensuring that GCL complies

with Act 372. Mr. Webb believes that some of the approximately 160,000 items in GCL’s

collection, though constitutionally protected, could be deemed harmful to minors or inappropriate

for minors and therefore subject to the Availability Provision or Challenge Procedure. Mr. Webb

is also concerned about criminal liability arising from GCL’s practice of offering volunteer

positions to students in Garland County, many of whom are under 18 years of age, because those

volunteers must have access to GCL’s entire collection to do their work. Mr. Webb does not

believe that GCL will be able to make the drastic and prohibitively expensive changes to its floor

plan that would be necessary to fully segregate all possible covered materials in the library’s

collection. Accordingly, Mr. Webb is concerned that—in the course of his work and consistent

with best practices for library administration—he might be charged with a misdemeanor offense

for violating Act 372. Mr. Webb will thus be irreparably injured if the Availability Provision and

Challenge Procedure are not enjoined. Mr. Webb sues on his own behalf and in his individual

capacity.




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        20.   The Arkansas Library Association (“ArLA”) is an Arkansas nonprofit corporation

formed under Section 501(c)(3) of the Internal Revenue Code as a professional association for

libraries and individuals who work in them throughout Arkansas. Its mission is to further the

professional development of all library staff members; to foster communication and cooperation

among librarians, trustees, and friends of libraries; to increase the visibility of libraries among the

general public and funding agencies; and to serve as an advocate for librarians and libraries. ArLA

has more than 400 members, comprised of both individuals employed by libraries and public

library facilities located all across Arkansas, including in Crawford County. There exists at least

one active and dues paying member of ArLA in each judicial district in Arkansas in which Act

372 will be enforced. ArLA sues on its own behalf and on behalf of its members. ArLA suffers

irreparable injury to the interest of its members, as well as independently to its own organization

interest. The First and Fourteenth Amendment rights of ArLA members and their patrons will

thus be infringed unless the Availability Provision and Challenge Procedure are enjoined for all

the following reasons:

              a.      ArLA suffers irreparable injury to the interests of its members because

      many of its member libraries or its member librarians’ workplaces carry materials that,

      though constitutionally protected, could be deemed harmful to minors and therefore subject

      to the Availability Provision, or inappropriate and therefore subject to the Challenge

      Procedure.

              b.      Most of the libraries that are members of ArLA or at which ArLA members

      work serve small local communities. These libraries maintain their collections on open

      shelves, organized by type of book and subject matter, which patrons may access without

      requesting assistance from library staff. These libraries also serve patrons that range in age



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      from toddlers to the elderly. Many of these libraries do not have the financial or staff

      resources to review their entire collections, such that they can identify material that will

      need to be physically segregated under Act 372. Similarly, many of them lack the physical

      space or financial resources to restructure their library to provide the segregated space they

      would need to prevent any risk of availability to minors. Accordingly, many of ArLA’s

      individual members will be at risk of criminal prosecution once Act 372 goes into effect.

             c.      Many of ArLA’s library-members also have in their collection only a single

      copy of books that are likely to be challenged, meaning that, during the review required by

      the Challenge Procedure, the libraries will be forced to purchase an additional copy or the

      book will be unavailable to patrons. Moreover, ArLA’s member-libraries are frequently

      visited by families that include children too young to be left unattended while the parents

      peruse, either as a matter of library policy or parental judgment. In such a case, the

      chaperoning parent would be unable to access books segregated in an area of the library

      where their children are prohibited from entering.

             d.      On information and belief, families will be less inclined to visit ArLA

      member-libraries if Act 372 prevents them from perusing books together. Indeed, on

      information and belief, adult visitors to ArLA member-libraries will generally be less

      inclined to peruse books available only in an adults-only sections, as those books will be

      stigmatized and less attractive to many readers.

             e.      ArLA is also injured by the Challenge Procedure’s viewpoint

      discrimination between those who support and oppose the availability of particular books.

      If the Challenge Procedure permitted participation by those who favor keeping a

      challenged book in circulation, ArLA or its members would participate to advocate for



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       books remaining available. Similarly, if the Challenge Procedure allowed appeals from a

       library’s decision to segregate or remove a challenged book, ArLA or its members would

       avail themselves of that recourse.

               f.      ArLA also suffers irreparable injury in its own right and to its organizational

       interests because, to counteract the harm that ArLA’s members will suffer, it has been

       forced to divert organizational resources—including staff time and money—to respond to

       Act 372 through public education campaigns, and development of training materials to help

       its members understand what compliance with Act 372 would require. The Availability

       Provision and Challenge Procedure thus impede ArLA’s overall mission by forcing ArLA

       to divert resources from projects and activities in which it would have otherwise engaged.

        21.    Advocates for All Arkansas Libraries (“AAAL”) is a nonprofit corporation formed

 under Arkansas law as a membership organization whose mission is to advocate for the

 preservation and improvement of libraries and library services across the state, and to educate the

 public, state leaders, and legislators of the value and importance of libraries in Arkansas. Its dues-

 paying members are libraries, library staff, and library patrons, including both adult and minor

 patrons. AAAL sues on behalf of itself and its 118 members. AAAL suffers irreparable injury to

 the interests of its members, as well as independently to its own organizational interests, for the

 following reasons:

               a.      AAAL suffers irreparable injury to the interests of its members because,

       many of the libraries that are members of AAAL or at which AAAL members work, carry

       materials that, though constitutionally protected, could be deemed harmful to minors and

       therefore subject to the Availability Provision, or inappropriate and therefore subject to the

       Challenge Procedure.



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             b.      AAAL’s library-members also serve patrons of all ages, from small children

      to older adults. Few have the financial or staff resources to review their entire collections,

      such that they can identify and segregate material that might be covered by the Availability

      Provision. Accordingly, many of AAAL’s individual members will be at risk of criminal

      prosecution once the Availability Provision goes into effect.

             c.      Moreover, many of these smaller libraries have only a single copy of some

      of the books that are likely to be challenged, meaning that, during the pendency of the

      challenge process, the libraries will be forced to purchase an additional copy or the book

      will be unavailable to the patrons. AAAL’s member-libraries are also frequently visited by

      families that include children too young to be left unattended while the parents peruse,

      either as a matter of library policy or parental judgment. In such a case, the chaperoning

      parent would be unable to access books segregated in an area of the library where their

      children are prohibited from entering.

             d.      On information and belief, families will be less inclined to visit AAAL

      member-libraries if Act 372 prevents them from perusing books together. Indeed, on

      information and belief, adult visitors to AAAL member-libraries will generally be less

      inclined to peruse books available only in an adults-only sections, as those books will be

      stigmatized and less attractive to many readers.

             e.      AAAL is also injured by the Challenge Procedure’s viewpoint

      discrimination between those who support and oppose the availability of different books.

      The Challenge Procedure does not require a library review committee to hear the reasons

      of a person wanting to keep a challenged material in circulation. It does not permit such a

      person to appeal a library’s decision to segregate the material to a local government body.



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       If the Challenge Procedure permitted participation by those who favor keeping a

       challenged book in circulation, AAAL’s members would participate to share that view.

       Similarly, if the Challenge Procedure allowed appeals from a library’s decision to segregate

       or remove a challenged book, AAAL or its members would avail themselves of that

       recourse.

               f.      AAAL also suffers irreparable injury in its own right and to its

       organizational interests because, prior to enactment of the Availability Provision, AAAL

       focused its organizational resources on developing educational programming on library

       services for library para-professionals and providing consultation services to library

       directors regarding best practices for library management. Since the Availability Provision

       was signed into law, however, AAAL has been consumed by the need to respond to the

       legitimate concerns of its members about Act 372’s requirements, including both the high

       financial costs that AAAL’s member-libraries face to comply with the law, as well as the

       potential that AAAL members will face criminal liability. AAAL has thus diverted

       organizational resources, including staff time and money, to develop training and

       educational resources for its members about the steps library staff must take to comply

       with Act 372. For instance, AAAL has hired an attorney to help develop model policies

       that member libraries can use in implementing the processes required by the Challenge

       Procedure. These expenses, which AAAL would not have otherwise incurred or would

       have spent on other organizational priorities, cannot be recouped.

        22.    Pearl’s Books, LLC is an independent bookstore that sells new books and gifts just

 off the downtown square in Fayetteville, Arkansas. Pearl’s Books also hosts reading and writing

 events for readers of all ages.



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        23.    Wordsworth Community Bookstore LLC, d/b/a WordsWorth Books, is an

 independent bookstore that sells new books and gifts in the historic Heights neighborhood in

 Little Rock, Arkansas. WordsWorth Books sells books for people of all ages, and regularly hosts

 author events and children’s story time events.

        24.    The American Booksellers Association (“ABA”) was founded in 1900 and is a

 national not-for-profit trade organization that works to help independently owned bookstores

 grow and succeed. ABA represents over 2,100 member companies operating in over 2,500

 locations. ABA’s core members are key participants in their communities’ local economy and

 culture. To assist them, ABA provides education, information dissemination, business products,

 and services; creates relevant programs; and engages in public policy, industry, and local-first

 advocacy. The ABA has 17 members located in Arkansas who are subject to Act 372.

        25.    The Association of American Publishers (“AAP”), a not-for-profit organization,

 represents the leading book, journal, and education publishers in the United States on matters of

 law and policy, advocating for outcomes that incentivize the publication of creative expression,

 professional content, and learning solutions. AAP’s members range from major commercial book

 and journal publishers to small, non-profit, university, and scholarly presses, as well as leading

 publishers of educational materials and digital learning platforms. AAP’s members publish a

 substantial portion of the general, educational, and religious books produced in the United States,

 including critically acclaimed, award-winning literature for adults, young adults, and children.

 AAP represents an industry whose very existence depends on the free exercise of rights

 guaranteed by the First Amendment.

        26.    The Authors Guild, Inc. (“Guild”) was founded in 1912 and is a national non-profit

 association of more than 10,000 professional, published writers of all genres, 32 of whom are



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 located in Arkansas. The Guild counts historians, biographers, academicians, journalists, and

 other writers of non-fiction and fiction as members. The Guild works to promote the rights and

 professional interest of authors in various areas, including copyright, freedom of expression, and

 taxation. Many Guild members earn their livelihoods through their writing. Their work covers

 important issues in history, biography, science, politics, medicine, business, and other areas; they

 are frequent contributors to the most influential and well-respected publications in every field.

 The ability to write on topics of their choosing and to have their work available through

 bookstores and libraries is vital to their ability to make a living in their chosen profession.

        27.    The Comic Book Legal Defense Fund (“CBLDF”) is a nonprofit organization

 dedicated to protecting the legal rights of the comic arts community. With a membership that

 includes creators, publishers, retailers, educators, librarians, and fans, the CBLDF has defended

 dozens of First Amendment cases in courts across the United States and let important educational

 initiatives promoting comics literacy and free expression.

        28.    Freedom to Read Foundation (“FTRF”) is a nonprofit membership organization

 established in 1969 by the American Library Association to promote and defend First Amendment

 rights, to foster libraries as institutions fulfilling the promise of the First Amendment for every

 citizen, to support the rights of libraries to include in their collections and make available to the

 public any work they may legally acquire, and to set legal precedent for the freedom to read on

 behalf of all citizens. FTRF’s membership includes organizations, libraries, librarians, and library

 patrons. FTRF members in Arkansas will suffer irreparable injury because many of the libraries

 that are members of FTRF or at which FTRF members work, carry materials that, though

 constitutionally protected, could be deemed harmful to minors and therefore subject to the

 Availability Provision. These same materials might be challenged as inappropriate pursuant to



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 the Challenge Procedure at significant cost to the libraries. FTRF’s members who are library

 patrons in Arkansas will suffer irreparable injury if the Availability and Challenge Provisions go

 into effect because they will be deprived of access to books that they would like to peruse, read,

 or check out, and which would otherwise be available.

        29.    Crawford County, Arkansas is a county organized under the laws of the State of

 Arkansas. It oversees the Crawford County Library (“CCL”). On information and belief, it is the

 policy of Crawford County to implement Act 372 to the fullest extent possible.

        30.    Chris Keith is the County Judge for Crawford County, Arkansas. He is being sued

 in his official capacity only, as the chief executive of the local government body responsible for

 overseeing the CCL under the laws of the State of Arkansas. Judge Keith serves as the chief

 executive of Crawford County, and in that capacity, appointed a majority of the Crawford County

 Library Board of Directors. He is responsible for the implementation of Act 372, including the

 Challenge Procedure, in Crawford County. Actions that Judge Keith has taken or will take to

 implement Act 372 in Crawford County are made under color of law and are attributable to

 Crawford County.

        31.    Todd Murray is the Prosecuting Attorney for the First Judicial District. He is sued

 in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position in

 which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        32.    Sonia Fonticiella is the Prosecuting Attorney for the Second Judicial District. She

 is sued in her official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position

 in which she acts under color of law to enforce Arkansas’s criminal laws, like Act 372.




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        33.     Devon Holder is the Prosecuting Attorney for the Third Judicial District. He is

 sued in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position

 in which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        34.     Matt Durrett is the Prosecuting Attorney for the Fourth Judicial District. He is sued

 in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position in

 which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        35.     Jeff Phillips is the Prosecuting Attorney for the Fifth Judicial District. He is sued

 in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position in

 which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        36.    Will Jones is the Prosecuting Attorney for the Sixth Judicial District. He is sued in

 his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position in which

 he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        37.    Teresa Howell is the Prosecuting Attorney for the Seventh Judicial District. She is

 sued in her official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position

 in which she acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        38.    Ben Hale is the Prosecuting Attorney for the Eighth Judicial District - North. He is

 sued in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position

 in which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        39.    Connie Mitchell is the Prosecuting Attorney for the Eighth Judicial District – South.

 She is sued in her official capacity only, as a Prosecuting Attorney for the State of Arkansas, a

 position in which she acts under color of law to enforce Arkansas’s criminal laws, like Act 372.




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        40.    Dan Turner is the Prosecuting Attorney for the Ninth Judicial District – East. He is

 sued in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position

 in which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        41.    Jana Bradford is the Prosecuting Attorney for the Ninth Judicial District – West.

 She is sued in her official capacity only, as a Prosecuting Attorney for the State of Arkansas, a

 position in which she acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        42.    Frank Spain is the Prosecuting Attorney for the Tenth Judicial District. He is sued

 in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position in

 which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        43.    Tim Blair is the Prosecuting Attorney for the Eleventh Judicial District – East. He

 is sued in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position

 in which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        44.    Kyle Hunter is the Prosecuting Attorney for the Eleventh Judicial District – West.

 He is sued in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a

 position in which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        45.    Daniel Shue is the Prosecuting Attorney for the Twelfth Judicial District. He is sued

 in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position in

 which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        46.    Jeff Rogers is the Prosecuting Attorney for the Thirteenth Judicial District. He is

 sued in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position

 in which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.




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        47.      David Ethredge is the Prosecuting Attorney for the Fourteenth Judicial District. He

 is sued in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position

 in which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        48.      Tom Tatum, II is the Prosecuting Attorney for the Fifteenth Judicial District. He is

 sued in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position

 in which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        49.      Drew Smith is the Prosecuting Attorney for the Sixteenth Judicial District. He is

 sued in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position

 in which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        50.      Rebecca Reed Mccoy is the Prosecuting Attorney for the Seventeenth Judicial

 District. She is sued in her official capacity only, as a Prosecuting Attorney for the State of

 Arkansas, a position in which she acts under color of law to enforce Arkansas’s criminal laws,

 like Act 372.

        51.      Michelle C. Lawrence is the Prosecuting Attorney for the Eighteenth Judicial

 District – East. She is sued in her official capacity only, as a Prosecuting Attorney for the State

 of Arkansas, a position in which he acts under color of law to enforce Arkansas’s criminal laws,

 like Act 372.

        52.      Debra Buschman is the Prosecuting Attorney for the Eighteenth Judicial District –

 West. She is sued in her official capacity only, as a Prosecuting Attorney for the State of Arkansas,

 a position in which she acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        53.      Tony Rogers is the Prosecuting Attorney for the Nineteenth Judicial District – East.

 He is sued in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a

 position in which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.



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        54.    Nathan Smith is the Prosecuting Attorney for the Nineteenth Judicial District –

 East. He is sued in his official capacity only, as a Prosecuting Attorney for the State of Arkansas,

 a position in which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        55.    Carol Crews is the Prosecuting Attorney for the Twentieth Judicial District. She is

 sued in her official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position

 in which she acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        56.    Kevin Holmes is the Prosecuting Attorney for the Twenty-first Judicial District. He

 is sued in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a position

 in which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        57.    Chris Walton is the Prosecuting Attorney for the Twenty-second Judicial District.

 He is sued in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a

 position in which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        58.    Chuck Graham is the Prosecuting Attorney for the Twenty-second Judicial District.

 He is sued in his official capacity only, as a Prosecuting Attorney for the State of Arkansas, a

 position in which he acts under color of law to enforce Arkansas’s criminal laws, like Act 372.

        59.    On information and belief, Defendants will each exercise their discretion and legal

 authority to implement and enforce Act 372 when it goes into effect on August 1, 2023.

                                   FACTUAL ALLEGATIONS

                                    The Availability Provision

        60.     As discussed in the Introduction above, Section 1 of Act 372 (to be codified at Ark.

 Code Ann. § 5-27-212(b)(1)) establishes a Class A misdemeanor criminal offense for making

 available to a minor an item “harmful to minors.” Under the Availability Provision,

       [a] person commits furnishing a harmful item to a minor if, knowing the character
       of the item involved, the person knowingly. . . [f]urnishes, presents, provides,

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       makes available, gives, lends, shows, advertises, or distributes to a minor an item
       that is harmful to minors.

        61.    The term “item” encompasses every form of expressive material that one could

 expect to find in a public library or bookstore, including books, magazines, and motion pictures.

 See Ark. Code Ann. § 5-27-212(a)(4)(B) (eff. August 1, 2023).

        62.    Act 372’s definition of “harmful to minors” is incorporated from Arkansas’ variable

 obscenity statute, which defines the term to mean:

       that quality of any description, exhibition, presentation, or representation, in
       whatever form, of nudity, sexual conduct, sexual excitement, or sadomasochistic
       abuse, when the material or performance, taken as a whole, has the following
       characteristics:

       (A) The average person eighteen (18) years of age or older applying contemporary
       community standards would find that the material or performance has a
       predominant tendency to appeal to a prurient interest in sex to minors;

       (B) The average person eighteen (18) years of age or older applying contemporary
       community standards would find that the material or performance depicts or
       describes nudity, sexual conduct, sexual excitement, or sadomasochistic abuse in a
       manner that it patently offensive to prevailing standards in the adult community
       with respect to what it suitable for minors; and

       (C) The material or performance lacks serious literary, scientific, medical, artistic,
       or political value for minors.

Ark. Code Ann. § 5-68-501(2).

        63.    An earlier 2003 statute, Ark. Code Ann. § 5-68-502, made it a Class B misdemeanor

 to: “[d]isplay material that is harmful to minors in such a way that the material is exposed to the

 view of a minor as part of the invited general public,” Ark. Code Ann. § 5-68-502(1)(A) (the

 “Display Provision”).

        64.    In a 2004 case brought by some of the Plaintiffs to this action, the United States

 District Court for the Eastern District of Arkansas (Eisele, J.) found that the Display Provision

 was “facially unconstitutional under the First and Fourteenth Amendments to the United States

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 Constitution because such provisions are overbroad and impose unconstitutional prior restraints

 on the availability and display of constitutionally protected, non-obscene materials to both adults

 and older minors.” Shipley, Inc., 454 F. Supp. 2d at 831. The Court entered a declaratory judgment

 that the Display Provision was void and of no effect. Id.

        65.    Nevertheless, Arkansas has enacted a content-based restriction very similar to the

 one found void in Shipley. The Availability Provision seeks to criminalize “mak[ing] available,”

 “providing[ing]” or “show[ing]”, in a retail establishment or library, material harmful to minors

 of any age, i.e. from newborns to 17-year-olds – the same category of material the State cannot,

 consistent with the First Amendment, criminalize “display[ing].”

        66.    There is no available narrowing construction that may be employed to reduce the

 scope of the Availability Provision’s sweeping regulation of expressive material. The Arkansas

 Supreme Court has definitively interpreted the definition of “minor” in the context of “harmful

 to minor” laws to refer to all minors, not just younger minors. See Shipley, Inc. v. Long, 359 Ark.

 208, 216, 195 S.W.3d 911, 915 (2004) (addressing a certified question from the federal court and

 finding that “[b]ecause the statute defines a minor as ‘any person under the age of eighteen,’ the

 statute is obviously intended to protect all minors from exposure to material deemed ‘harmful to

 minors.’”).

        67.    The Availability Provision of Act 372 regulates the display and dissemination of

 constitutionally protected non-obscene materials. It is not narrowly drawn to further a legitimate

 government purpose and violates the First and Fourteenth Amendments in that it:

               a.      imposes an unconstitutional prior restraint on the availability, display,

       distribution, receipt, and perusal of constitutionally protected, non-obscene material to both

       adults and older minors;



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                b.      is unconstitutionally overbroad; and

                c.      is unconstitutionally vague.

                                    The Challenge Procedure

         68.    Section 5 of Act 372 (Ark Code 6-25-106) provides that Arkansas public libraries

 must establish a policy governing the selection, relocation, and retention of physical materials

 that are available to the public. This policy must provide a method whereby a library employee

 or a “person affected by the material to be challenged” can challenge the “appropriateness” of

 material in the library.

         69.    The Challenge Procedure begins with an informal meeting between the challenger

 and the library staff. If the challenger is unsatisfied by the outcome of the meeting, he or she may

 submit a formal written challenge seeking an internal review by a committee of library employees.

         70.    The Challenge Procedure does not define “appropriateness” or set forth criteria

 beyond “appropriateness” for libraries to use in deciding whether to relocate challenged materials

 from the main collection to an area inaccessible to minors.

         71.    This administrative process includes an opportunity for the challenger to present

 his or her case in person. There is no provision permitting those who believe the material should

 remain available in the main collection to present a countervailing case. The committee then votes

 to determine whether the material should be relocated to an adults-only section of the library. The

 challenger receives a written summary of the reasons for the committee’s decision in a

 “reasonable” but unspecified amount of time.

         72.    The Challenge Procedure fails to define “not accessible to minors” or set forth any

 criteria to be used in evaluating whether that standard has been met.




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            73.   If the committee decides to relocate the material, the Challenge Procedure provides

 no appeal or other recourse to anyone who believes the material should remain available in the

 main collection. If the committee decides not to relocate the material, the challenger may elect to

 appeal to the city board or quorum court of the city or county primarily supporting the public

 library.

            74.   That local governing body is directed to consider five pieces of information before

 rendering its decision: (1) the material being challenged; (2) the challenger’s request that the

 material be relocated; (3) the committee’s decision; (4) a written summary of the reasons for the

 committee’s decision; (5) a recommendation from the executive head of the county or city if the

 executive chooses to include one.

            75.   The Challenge Procedure has no requirement that the local governing body publicly

 explain or document its reasons for approving or reversing the decision of the library committee.

 There is no limit on the number of materials appeals that a quorum court or city council must

 hear. Act 372 requires a decision of the city board or quorum court within 30 days and describes

 that decision as “final.”

            76.   Under the Challenge Procedure as set forth in the statute, libraries may choose to

 leave materials available pending a challenge or remove the materials while the process plays out.

 Unless libraries purchase additional copies of the materials for use by the review committees and

 local governing bodies, the library will be forced provide its copies to reviewers and the materials

 will be unavailable to library patrons for an indefinite period of time as a result of the Challenge

 Procedure.

            77.   The Challenge Procedure of Act 372 violates the First and Fourteenth Amendment

 in that it:



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               a.      imposes an unconstitutional prior restraint on the availability, display,

       distribution, receipt, and perusal of constitutionally protected, non-obscene material to both

       adults and older minors;

               b.      is a de facto licensing scheme that relieves local governing bodies of their

       responsibility to seek judicial review before imposing a final restraint on expression, denies

       aggrieved library patrons an adequate opportunity to obtain prompt judicial review of local

       governing bodies’ orders to relocate library materials to an area that is not accessible to

       minors under the age of eighteen years, and vests undue discretion in local governing

       bodies to make these decisions without objective criteria or a record of their reasoning; and

               c.      is unconstitutionally vague.

                                        Crawford County

       78.     Over the past year, a dispute about materials in the Crawford County Library

(“CCL”) led to the departure of the library’s executive director. In a November 10, 2022, letter,

Crawford County residents Jeffrey and Tammi Hamby alleged that the then-CCL Director Deidre

Grzymala and her employees were “normalizing and equating homosexual and transexual

lifestyles with heterosexual lifestyles with heterosexual family units” and sought greater

participation in material selection.

        79.    In December 2022, Defendant Chris Keith appointed Tammi Hamby and two others

 to CCL Board of Directors, forming a majority bloc on the five-member board. On January 10,




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 CCL staff announced that all branches of the CCL had “moved their LGBTQ children’s books

 out of the children’s section into a new area within their respective adult sections.” 3

           80.   When some Crawford County residents demanded that CCL stop segregating books

 containing LGBTQ themes, Crawford County, through its attorney, declined to do so. Instead,

 Crawford County insisted that it was within its rights to “protect[] children from exposure to

 materials that might harm their innocence” by segregating materials that, in Crawford County’s

 judgment, “might” be harmful to some minors. 4

           81.   The letter from Crawford County has also signaled that more changes are coming

 to CCL. It previewed, through its lawyer, that “Act 372 will make it necessary to continue

 modifying and changing the library system’s policies and procedures.” The County Attorney

 wrote to the CCL that among its “obligations to come into compliance with the new laws by

 August 1, 2023” is “creat[ing] a section that is not accessible to those under eighteen.” 5

           82.   On information and belief, Crawford County intends to adopt a policy that materials

 containing LGBTQ themes or discussing other “social issues” might harm the innocence of

 children and that, on that basis, any such materials must be segregated based on the viewpoint

 contained therein once Act 372 goes into effect on August 1.




       3
           Tomas Saccente, Crawford County Library Board Looks to Create New A Public Comment
Policy After Increased Engagement At Meetings, N.W. Ark. Democrat Gazette (May 14, 2023),
https://tinyurl.com/29mvtzbp.
       4
           The response letter is attached to this Complaint at Exhibit 2.
       5
           The letter to the CCL is attached to this Complaint as Exhibit 3.

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                                     CLAIMS FOR RELIEF

                           COUNT I – ALL PLAINTIFFS
                        RESTRICTIONS ON ADULT ACCESS
                  TO CONSTITUTIONALLY PROTECTED MATERIALS

        83.    Under the First and Fourteenth Amendments to the U.S. Constitution, adults have

 the right to view, browse through and purchase material protected by the First Amendment to the

 U.S. Constitution, including material with sexual content that is not obscene. Booksellers have

 the constitutional right freely to display and disseminate such materials to adults. Adult bookstore

 customers and library patrons have the right to view such materials.

        84.    It is not possible, under the Availability Provision, to restrict the display of

 materials covered by the Availability Provision to juveniles without also restricting such access

 by adults. The Availability Provision effectively requires booksellers, other retailers and

 librarians either to: (a) remove from their shelves and place in a segregated “adults only” section

 (or to remove from the establishment entirely) substantial amounts of constitutionally-protected

 matter because it may be “harmful” to younger or less mature readers, or (b) have an establishment

 carrying only material not “harmful” to any child, in both cases thereby restricting the voluntary

 viewing by, access to and sale of such material to adults.

        85.    In addition, such adults-only sections carry opprobrium and discourage many

 persons from entering therein. The restrictions of the Availability Provision have a chilling effect

 upon the exercise of rights guaranteed by the First and Fourteenth Amendments of the

 Constitution in that they inhibit and discourage the browsing, possession, sale and distribution of

 materials, the possession, sale and distribution of which are and ought to be protected under the

 U.S. Constitution.




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                          COUNT II – ALL PLAINTIFFS
                   RESTRICTIONS ON OLDER MINORS’ ACCESS
                 TO CONSTITUTIONALLY PROTECTED MATERIALS

        86.    Under the First and Fourteenth Amendments to the U.S. Constitution, minors have

 the right to view and purchase any material that is not obscene as to them.

        87.    The Availability Provision is unconstitutional because it prohibits retail

 establishments and libraries from displaying any material with sexual content that contains visual

 or written representations of material “harmful to minors” and from allowing all minors to view

 such material, despite the fact that such material may be “harmful” only to younger minors, based

 on their developmental maturity.

        88.    The Availability Provision severely inhibits and effectively precludes access by

 older, more mature, minors to material constitutionally protected as to them. Thus, the

 Availability Provision violates plaintiffs’ right of free expression under the First and Fourteenth

 Amendments to the U.S. Constitution.

                               COUNT III – ALL PLAINTIFFS
                                RESTRICTION ON SPEECH
                                  (PRIOR RESTRAINT)

        89.    The Availability Provision requires the removal of constitutionally protected

 materials from readily viewed and accessible areas and proscribes having these materials

 accessible to minors. The Availability Provision forces people and organizations that trade in

 material covered by the provision and to which minors are lawfully entitled to exclude minors

 from their establishment, to place such material out of the reach of minors, or simply not to carry

 such constitutionally protected non-obscene materials.




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         90.       Many bookstore customers and library patrons will not enter an adults-only section

 or will have to specifically request an item that has been held behind a counter to make it

 inaccessible to minors.

         91.       The restrictions imposed by the Availability Provision necessarily will result in the

 removal from circulation and accessibility of large quantities of materials constitutionally

 protected as to adults and as to older minors in violation of the First and Fourteenth Amendments

 to the U.S. Constitution. The restrictions imposed by the Availability Provision will entail

 substantial monitoring costs for libraries, booksellers and other retailers. Further, in light of the

 difficulty of determining what material is harmful to minors, Plaintiffs’ First Amendment rights

 will be chilled because they will restrict access to any material that could potentially be implicated

 by the statute.

         92.       The Availability Provision imposes unreasonable obligations on merchants selling

 printed materials, encourages such merchants to exclude from their establishments all persons

 under the age of 18, and restricts and chills the rights of the plaintiffs to make available and the

 rights of adults and persons under the age of 18 to view, browse through and purchase materials

 that are constitutionally protected as to minors or as to adults.

         93.       The Availability Provision imposes unreasonable obligations on libraries and other

 establishments to review their many books to ensure that they are not knowingly “making

 available” material that may be deemed harmful to minors by allowing persons under the age of

 18 to browse the bookshelves unmonitored.




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                                COUNT IV – ALL PLAINTIFFS
                                     DUE PROCESS
                                     (VAGUENESS)

        94.    The Availability Provision contains language purporting to describe criminalized

 acts which is vague and indefinite and subject to different meanings such that it fails to provide

 adequate notice to booksellers and librarians of violations of the Availability Provision, including

 the meaning of “presents,” “provides,” and “makes available” in Ark. Code Ann. § 5-27-

 212(b)(1).

        95.    The Availability Provision is unconstitutionally vague because it fails to provide

 clear notice as to what acts are criminalized, in violation of the First Amendment and the Due

 Process Clause of the Fourteenth Amendment to the U.S. Constitution.

                             COUNT V – LIBRARY PLAINTIFFS
                               RESTRICTION ON SPEECH
                                 (PRIOR RESTRAINT)

        96.    The Challenge Procedure permits libraries to remove materials from circulation for

 long periods of time while materials challenges are pending.

        97.    Because any person “affected by” a library item can mount a challenge to its

 availability to minors under the Challenge Procedure, Act 372 effectively empowers any person

 “affected by” library materials to cause those materials to be unavailable to library patrons for a

 time while the challenges are processed.

        98.    The Challenge Procedure creates an unconstitutional prior restraint on First

 Amendment-protected activity.




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                             COUNT VI – LIBRARY PLAINTIFFS
                                     DUE PROCESS
                                     (VAGUENESS)

        99.      The Challenge Procedure contains language purporting to describe mandated acts,

 which are vague and indefinite and subject to different meanings such that it fails to provide

 adequate notice to librarians and library patrons of violation of the Challenge Procedure, including

 the meaning of “appropriateness” and “not accessible to a minor” in section Ark. Code Ann. §

 13-2-106 (eff. August 1, 2023).

        100. By delegating unfettered discretion to quorum courts and city councils to decide

 whether materials are “appropriate” without any definite procedural safeguards or standards, the

 Challenge Procedure violates the Due Process Clause of the Fourteenth Amendment to the U.S.

 Constitution.

        101. The Challenge Procedure is unconstitutionally vague because it fails to provide fair

 notice as to what acts are mandated, in violation of the First Amendment and the Due Process

 Clause of the Fourteenth Amendment to the U.S. Constitution.

                            COUNT VII – LIBRARY PLAINTIFFS
                                     DUE PROCESS
                              (LACK OF JUDICIAL REVIEW)

        102. Under Act 372, local government bodies will have 30 days to decide an appeal if

 the committee of librarians votes not to relocate a library item to an area inaccessible to minors.

 The city council or quorum court must approve or reverse the decision of the committee of

 librarians to keep material in the main collection. According to the Act, that decision of the local

 government body is “final.”

        103. By relieving local governments of their constitutional obligation to obtain judicial

 review prior to imposing a final restraint on expression, and by precluding a judicial determination


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 of whether an item may be removed from the library’s main collection, the Challenge Procedure

 violates the First Amendment and the Due Process Clause of the Fourteenth Amendment to the

 U.S. Constitution.

                                     IRREPARABLE HARM

         104. There is no adequate remedy at law for the violation of Plaintiffs’ constitutional

 rights, and unless the requested injunctive and declaratory relief is granted, plaintiffs and their

 members will suffer immediate and irreparable loss. The very existence of the Availability

 Provision and the Challenge Procedure has a chilling effect upon the exercise of Plaintiffs’

 constitutional rights, causing Plaintiffs irreparable personal and economic injury every day that

 they are in effect.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray judgment in their favor and against Defendants, and each

of them, as follows:

        1.      That this matter be set for hearing on the requested preliminary injunctive relief at

the earliest practical date;

        2.      That the Court enter a preliminary and permanent injunction enjoining the

Defendants, and each of them, and the Defendants’ agents, attorneys, servants, employees, and

other representatives, from enforcing the Availability Provision and the Challenge Procedure in

any manner whatsoever;

        3.      That the Court enter a declaratory judgment that the Availability Provision and the

Challenge Procedure are unconstitutional, void and of no effect;

        4.      That Plaintiffs be awarded the costs of this action;




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       5.     That Plaintiffs recover of Defendants their reasonable attorneys’ fees pursuant to

42 U.S.C. § 1988; and

       6.     That Plaintiffs be granted such other and further relief the Court deems proper.




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 Respectfully submitted,

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